  Case 18-40169                 Doc 73      Filed 05/10/18 Entered 05/10/18 09:13:06         Desc Main
                                               Document Page 1 of 1
      FILED & JUDGMENT ENTERED
                Steven T. Salata




            May 10 2018


        Clerk, U.S. Bankruptcy Court
       Western District of North Carolina
                                                                              _____________________________
                                                                                       J. Craig Whitley
                                                                                United States Bankruptcy Judge




                              UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION

 IN RE:                                                   )
                                                          ) Case No.:      18-40169
 SCHLETTER INC.                                           )
                                                          ) Chapter 11
                                  Debtor.                 )

                           ORDER APPOINTING CREDITORS' COMMITTEE

      This matter coming before the Court upon the recommendation of the United States
Bankruptcy Administrator for the appointment of a committee of unsecured creditors, and
the Court acting pursuant to its authority under 11 U.S.C. §1102,

     IT IS HEREBY ORDERED that the following creditors are to constitute the Official
Committee of Unsecured Creditors in this Case:

 Champion Tooling & Machining                               Coilplus, Inc.
 Attn: Darrell Chapman                                      Attn: Christopher J. Urgo
 109 Tanglewood Road                                        6250 North River Road
 Belton, SC 29627                                           Rosemont, IL 60018

 Crowe Logistics LLC                                        Joseph T. Ryerson & Son, Inc.
 Attn: John (Jack) Crowe                                    Attn: Kenny Wine
 541 N. Fairbanks Ct., Suite 2200                           7701 Lindsey Road
 Chicago, IL 60611                                          Little Rock, AR 72206

 MI Metals Inc.                                             PLS Logistics Services, Inc.
 Attn: Brook Massey                                         Attn: Ed Neiger, c/o ASK LLP
 301 Commerce Blvd.                                         151 W. 46th St., 4th Floor
 Oldsmar, FL 34677                                          New York, NY 10036

 Puliz Moving & Storage
 Attn: Barry Rosenthal
 1095 Standard Street
 Reno, NV 89506-8663

This Order has been signed electronically.
The judge’s signature and court’s seal                                   United States Bankruptcy Court
appear at the top of the Order.
